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                               UNITED STATES DISTIUCT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

MARIAN RYAN, in her official capacity as              *
Middlesex County District Attorney;                   *
RACHAEL ROLLINS, in her official capacity             *
as Suffolk County District Attorney;                  *
COMMITTEE FOR PUBLIC COUNSEL                          *
SERVICES; and the CHELSEA                             *
COLLABORATIVE, INC.,                                  *
                                                      *


               Plaintiffs,                            *
                                                      *


       V.                                             *      Civil Action No. 19-11003-IT
                                                      *


U.S. IMMIGRATION AND CUSTOMS                          *
ENFORCEMENT; MATTHEW T.                               *
ALBENCE, in his official capacity as Acting           *
Deputy Director of U.S. Immigration and               *
Customs Enforcement and Senior Official               *
Performing the Duties of the Director; TODD           *
M. LYONS, in his official capacity as                 *
Immigration and Customs Enforcement,                  *
Enforcement and Removal Operations, Acting            *
Field Office Director; U.S. DEPARTMENT                *
OF HOMELAND SECURITY; and KEVIN                       *
McALEENAN, in his official capacity as                *
Acting Secretary of United States Department          *
of Homeland Security,                                 *
                                                      *


               Defendants.                            *

                                 PRELIMINARY INJUNCTION


                                           June 20,2019
TALWANI, D.J.

       Upon considerationof Plaintiffs' Motion for a Preliminarv Injunction [5], supporting

memoranda, filings, and reply brief. Defendants' opposition and related filings, and amicus

curiae Immigration Reform Law Institute's brief in support of Defendants, and after hearing oral

argument from counsel for the parties, the court finds that Plaintiffs have demonstrated a

likelihood of success on the merits of Count 1 of their Complaint [1], that they are likely to
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